     Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 1 of 24

ProSe7(Rev.12/16)ComplaintforEmplom entDiscri
                                            mination

                                   U N ITED STATES D ISTRICT C OURT                                  FILED BY            )     D.C
                                                                                                                               ,

                                                                                                                k   '
                                                                   forthe                                  FE8           g21
                                                    Southem DistrictofFlorida                               ctjjjL
                                                                                                                 ttjtljytjy
                                                                                                            s.o.opFuA..v$AMi
                                                                        Division

                   Charisse T.Staggers                                      CaseN o. 1:20-cv-24202-BB
                    P.O.BOX 471346
                    M iami,FL 33247                                                    (tobehlledinbytheClerk'
                                                                                                             s(l
                                                                                                               y-/ice)
                        Plainrj
                              f/rx.
                                  l
(Writethefullnameofeachplaintly whoisjîling thiscomplaint.
ythenamesofallthep/tzfnll
                        y.
                         /,
                          kcannotAtinthespaceabove,                         JuryTrial:(checkone) U-
                                                                                                 71Yes FRNO
plea-
    çcwrite ''
             seeattached''in thespace and t
                                          zl/ac/lan additional
pagewiththefulllistofnames)
                             -V-


        lnternationalLongshoreman Association
              816 North W est2nd Avenue
                    M iamiFL 33136

                       Defendantls)
l'
 rrrf/ethefullnameofeachdefendantw/lt?isbeingsued.Jfl/le
namesofallthedejkndantscannotftIW thespaceabove,please
wrflc ''
       seeattached''in thespaceand tzl/tzc/lan additionalpage
withthefullIistofnames.)


                                 PLA IN TIFF'S SECO N D AM END ED C O M PLAIN T

1.       ThePartiesto ThisCom plaint
         A.       ThePlaintiffls)
                  Provide theinformation below foreach plaintiffnamed in thecom plaint. Attach additionalpagesif
                  needed.
                           Name                                 Charisse T.Staggers
                           StreetAddress                        P.O.BOX 471346
                           City and County                      Miami
                           State and Zip Code                   FL 33247
                           TelephoneNumber                      (786)366-9499
                           E-mailAddress                        raspberriraspberri@gmail.com

         B.       TheDefendantls)
                  Providetheinformation below foreach defendantnamed in thecomplaint, whetherthe defendantisan
                  individual,agovenzm entagency,an organization,ora corporation. Foran individualdefendant,
                  includetheperson'sjob ortitle(fknown).Attachadditionalpagesifneeded.
                                                                                                                         Page 1of 6
    Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 2 of 24

ProSe7(Rev.12/16)ComplaintforEmplom entDiscrimination

                 DefendantNo.1
                          Nam e                         InternationalLongshoreman Association
                          Job orTitle(lfknown)          Local1416
                          StreetAddress                 816 Nodh W est2nd Avenue
                          City and County               Miami
                          State and Zip Code            FL 33136
                          TelephoneNumber               (305)371-6781
                          E-m ailAddress(tfknown)

                 DefendantN o.2
                          N am e                        N/A
                          Job orTitle (t
                                       fknown)
                          StreetAddress
                          City and County
                          Stateand Zip Code
                          Telephone Num ber
                          E-m ailAddress(tfknown)


                 DefendantNo.3
                          Nam e
                          Job orTitle (Lfknown)
                          StreetAddress
                          City and County
                          State and Zip Code
                          Telephone Num ber
                          E-m ailAddress (ifknown)


                 DefendantNo.4
                          N am e
                          Job orTitle(tfknown)
                          StreetAddress
                          City and County
                          State and Zip Code
                          TelephoneN umber
                          E-m ailAddress(fknown)



                                                                                                Page2of 6
      Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 3 of 24

ProSe7(Rev.l2/16)ComplaintforEmploymentDiscrirnination

         C.       PlaceofEm ploym ent

                  n eaddressatwhich lsoughtemploymentorwasemployedbythedefendantts)is

                           N am e
                           StreetAddress
                           City and County
                           Stateand Zip Code
                           Telephone Number


II.     BasisforJurisdiction

        Thisaction isbroughtfordiscdm ination in employmentpursuantto (checkallthatapplpï

                             TitleVIIoftheCivilRightsActof1964,ascodified,42 U.S.C.jj2000eto 2000e-17(race,
                             color,gender,religion,nationalorigin).

                             (Note:InordertobringsuitinfederaldistrictcourtunderTitle Fffyoumusthrstobtaina
                             NoticeofRighttoSueletterfrom theEqualEmploymentOlworfunff  .yCommission)
                             AgeDiscrimination in EmploymentActof1967,ascodified,29U.S.C.jj62lto 634.

                             (Note: Inorderto >rjngsuitinfederaldistrictcourtundertheAgeDiscriminationin
                             EmploymentAct,youmustjlrsthleachargewiththeEqualEmploymentOpportunit.v
                             Commission)

                             AmericanswithDisabilitiesActof1990,ascodiiied,42U.S.C.jj 12112to 12117.

                            (Note: Inorderto bringsuitinfederaldistrictcourtundertheAmericanswithDisabilities
                            Act,youmust/rstobtain aNoticeofRighttoSueletterh'om theEqualEmployment
                            Olwtpr/unï/pCommi
                                         .    ssion.
                                                   )

                             Otherfederal1aw (spech thejèderal/tzw?:


                             Relevantstate law (spec# ,yknownl'
                                                              .


                            Relevantcity orcounty 1aw (specô,,f/'kntpwn?'
                                                                        .




                                                                                                           Page3of 6
    Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 4 of 24

ProSe7(Rev.l2/16)Complai
                       ntforEmploymentDisclirnination


IH .    Statem entofClaim

        W ritea shortand plain statementofthe claim . Do notm ake legalarguments. State asbriefly aspossible the
        factsshowing thateach plaintiffisentitled tothe dam ages orotherreliefsought. State how each defendantwas
        involved and w hateach defendantdid thatcaused the plaintiffharm orviolated the plaintiffsrights,including
        the datesand placesofthatinvolvem entorconduct. Ifm ore than oneclaim isasserted,num bereach claim and
        write a shortand plain statem entofeach claim in a separateparagraph. Attach additionalpagesifneeded.

        A.       n e discrim inatory conductofwhich lcom plain in thisaction includes(checkallthatappl
                                                                                                     pL

                                    Failureto hire m e.
                                    Termination ofmy em ploym ent.
                                    Failureto promotem e.
                                    Failureto accomm odate my disability.
                                    Unequaltermsand conditionsofmy em ployment.
                       Ed           Retaliation.
                                    Otheracts (specôbk
                                    (Note: Only thosegroundsraised inthechargehledwiththeEqualEmployment
                                    Olwtprfl/nffyCommi
                                               .      ssioncan beconsidered by thefederaldistrictctptlr/underthe
                                   federalemploymentdiscriminationstatutes)

       B.        ltismybestrecollectionthatthealleged discriminatoryactsoccurred on datets)
                 Between on oraboutJune 20,2015,through on oraboutJune 26,2020.

                 Ibelievethatdefendantts)(checkonel.
                        Z           is/are stillcom mitting these actsagainstm e.
                                    is/arenotstillcom mitting these actsagainstm e.

                 Defendantts)discriminatedagainstmebased onmy (checkallthatapplyandexplainl.
                        Z           race                  AfricanAm erican
                        e           color                 Black
                        V           gender/sex            Fem ale
                                    religion
                                    nationalorigin
                                    age(vearofbirth)                   (only whenasserting aclaim ofagediscrimination.
                                                                                                                     )
                                    disability orperceived disability (spech disabilit
                                                                                     y)



                 'Fhefactsofm y caseare asfollow s. Attach additionalpagesifneeded.
     Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 5 of 24

ProSe7(Rev.12/16)ComplaintforEmplom entDiscrimination
                 Psease see attached Statementofthe Facts,hereby incom orated by reference as iffull
                                                                                                   y setforth herein.




                 (Note: Asadditionalsupportforthefactsofyourclaim,youmay attachto thiscomplainta copyof
                 yourchargefledwiththeEqualEmploymentOpportunity Commission,orthechargehledwiththe
                 relevantstate orcf/.y human rightsdivision.)

IV. Exhaustion ofFederalAdm inistrativeRem edies

                 ltism y bestrecollection thatItiled a charge with the EqualEm ploym entOpporttm ity Comm ission or
                 m y EqualEmploym entOpportunity counselorregarding the defendant'salleged discriminatory conduct
                 on (date)
                 On oraboutDecem ber8,2019.



      B.         n e EqualEmploymentOpportunity Cornm ission (checkonelL
                                    hasnotissued aNotice ofRightto Sue letter.
                                    issued a Notice ofRightto Sue letter,which lreceived on (date) 06/13/2020
                                    (Note:AttachacopyoftheNoticeofRighttoSueletterfrom theEqualEmployment
                                    OpportunitvCommission tothiscomplaint)
                                               .




                 Only litigantsalleging age discrim ination m ustanswerthisquestion.

                 Since tiling my chargeofage discrim ination with theEqualEm ploymentOpporttmity Comm ission
                 regarding the defendant'salleged discrim inatory conduct(checkonell

                                    60 daysorm orehaveelapsed.
                                    lessthan 60 dayshave elapsed.

V.     Relief

       Statebriefly and precisely whatdam agesorotherrelieftheplaintiffasksthe courtto order. Do notmakelegal
       argum ents. lncludeany basisforclaiming thatthe wrongsalleged arecontinuing atthepresenttim e. Include the
       amountsofany actualdam ages claim ed forthe actsalleged and the basisfortheseam ounts. Include any punitive
       orexemplary dam agesclaimed,the am ounts,and the reasonsyou claim you areentitled to acttzalorpunitive
       m oney dam ages.




                                                                                                                Page6of6
     Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 6 of 24

ProSe7(Rev.12/16)ComplaintforEmploymentDiscrimination
       Compensatory,punitive,and nominaldamagesgreaterthan$100,000.00,inanamountto beproven attrial.




       Certifk ation and Closing

       UnderFederalRule ofCivilProcedlzre 1l,by signing below,lcertify to the bestofmy know ledge,inform ation,
       andbeliefthatthiscomplaint:(1)isnotbeingpresentedforan improperpurpose,suchastoharass,cause
       tmnecessary delay,orneedlesslyincreasethecostoflitigation;(2)issupported by existing law orbya
       nonfrivolousargumentforextending,modifying,orreversing existinglaw;(3)thefacmalcontentionshave
       evidentiary supportor,ifspecifically so identitied,willlikely have evidentiary supportaftera reasonable
       opporlunity forf'
                       urtherinvestigationordiscovery;and(4)thecomplaintotherwisecomplieswiththe
       requirem entsofRule ll.


       A.         For PartiesW ithoutan Attorney
                  Iagreeto providethe Clerk'sOfficewith any changesto my addresswhere case-related papersmay be
                  served. Iunderstand thatm y failure to keep a currentaddresson tile with the Clerk'sOffice m ay result
                  in the dism issalofmy case.

                  Date ofsigning:             02/17/2021


                  SignatureofPlaintiff             /s/Charisse T.Stapgers
                  Printed Nam eofPlaintiff         Charisse T.Staggers

       B.         For Attilrler

                  Date ofsigning:


                  SignatureofAttorney
                  M ntedN ame ofAttorney
                  BarNum ber
                  Nam eofLaw Firm
                  StreetAddress
                  State and Zip Code
                  Telephone Number
                  E-m ailA ddress




                                                                                                                 Page 6 of 6
Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 7 of 24




                              ST A TE M EN T O F TH E FA C TS
                          FA CTS A PPLIC A BLE TO C A LL C O U NT S
                                            H arassm ent
         I am writing that 1 have been Sexually Harassed, Harass, Life threaten, Stalking,
  Slandered, hum iliation, bullied intim idated, A ssaulted, H arassing phone calls, Harassing text

  nAessages.
  2.     M y car vandalized repeatedly.Ichanged m y num berm ore than 30 tim es.
         I am suing for continuing SexualH arassm entand H arassm ent.W hen 1m ade com plaints
  nothing everw as done aboutthe situation.Itcontinued too getm ore violentand dangerous.

         lwascontinuedtoworkunderahostileenvironment.Fornothingbutjealousy and Envy
  and Pure H atred forN o reason.A lltrying to do is feed m y fam ily and earn a living in peace.ldo
  not com e too fightand bother N o one.They continue to harass and InternationalLongshorem an
  A ssociation w illnothelp m e.
                                    SEX UA L HA RR ASSM EN T

         M ay 10,2015 H eader ElToro W allace gave m e rides over the bridge.ElTorro continue
  rub on meand ask forsex lrefused hisadvancesand go outof hisSilvervan.
                                             June 2015
         June 13,2015 ElTorro W allace throw m oney on the ground and stated to pick itup and
  allhis women crawlfor itand pick it.Irefused and walked overhism oney atTerminalB.It
  happened in frontofpassengersand C ow orkers.

  6.     June 20,2015 1 was Sexually Harrass and wrote reportagainstClarence Pittman jr.
  Clarence continued too callm e derogatory nam es because Iw oultln'tsleep w ith him .lstillhave
  the reportalso.




                            1IPlaintifrsSecondAmended Complaint
Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 8 of 24




                                                 HA RRA SSM EN T
                                                       Febm al 2016
        Febnzary 07,2016, I saw Sonya Yvette Ransom at a club follow ing m e evelywhere.
 Claim ing itw asherbirthday and trying to be nice attirst.
 8.     On Februarylo, 2016 I started receiving constant H arassing phone and text m essages
 from SonyaRansom stated shewasgoing to shootandkillme.
        February 11,2016 Sonya Ransom w as follow ing m e around the halltelling people 1 have
 Aidsand H om eless.
  10.   Sonya Ransom w ascalling derogatory nam es.Sonya w entand satin hercarand puta red
 beam on m y from a gun stating she w asgoing too shotm e.
  11.   Febrtzary 12,2016 Sonya Ransom cam e to the PortofM iam iin the chase area for work.
 Blocked m e in w ith her SilverD odge Chargertag num berRAN SO M .
        Sonyawascalling m e derogatory nam es and wascontinued to harassm e and wanting to

 fightand made abig seen.CoworkerArline stated too leave me alone andjustgo to work.1
 ignored hershe w enton for m ore than 20 m insuntilSonya drove ofl-.
                                      A SSA ULT A N D BATTERY
                                                         July2016
        July 5,2016 Longshorem an Local 14 16 Sonya Yvette Ransom A ssaulted m e entering the
 back door ofLocal 1416 U nion Hall.Itis w as on cam era.
 People laughed took pictures and video it.People put it on the internetand and shared al1over
 the union hall.
        1and Anthony Raggs called City ofM iam iPolice to press charges and stating she was
 trying to Shootm e.Cow orkers w ere keeping her from using her w eapon.Case num ber 160705-
 202853 O ftk er John
  15.   July 06 2016 W entto file a reportM iam iPolice Departm entfor V andalism Case num ber
  160621-186934 O fficerW .Byans.



                           2 IPlaintiff'sSecond Amended Complaint
                                 tt..y: .q.
                                xxx
                                          ,.?.k.L
                                     .. .. k-
                                ., . .          .,l.
                                                   yj
                                            .. . . ..y
                                                     ' k.
                                                        yt..
                                                           '' t
                                                              .)).
                                                                 r.-k
                                                                    .. )
                                                                       ,j
                                                                        '
                                                                        .
                                                                        ..
                                                                         .'-t$..x
                                                                                ..t
                                                                                  x..
                                                                                    .l
                                                                                     t
Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 9 of 24




  l6.    July 7,2016 wrote a letter too the Union Hall and courts complaining about Sonya
  Ransom continuing Harassm ent.Istated that she is very insane and dangerous Stalking me. I
  continue to get m y tires slashed and windows busted out. Car was vandalized with deep
  scratches,drinks poured on it.M y num ber w as puton a Porn site.I took pictures and stillhave
  them Case 2016-016598 FO C4 section 55

         July 08,2016 l went with Longshorem an Anthony Raggs too City of M iam i Police
  Departm entto press chargesagainstSonya Ransom forA ssaultand Battery againstusboth.
         Ialso w entto the State A ttorney O ffice w ith A nthony Raggs and tiled a restraining order
  againstLongshorem an Sonya Ransom .Ireceived a Tem porary restraining order.Case l6-16598
  July 24,2016 12:23 pm Sonya Ransom texted she is atthe Shooting range and she w ants som e
  m ore ofyou Bitch.
         July 24,2016 12:24p.m .I received a phone call and Text m essage from Sonya Ransom
  thatitw asm y lastday on earth.Ihave the m essages still.
  July 24,2016 12:24 pm Sonya Ransom texted stating she have A ids and Ibetter getchecked w ith
  Anthony Raggs.

  20.    July 24,2016 12:24 p.m .Textm essage from Sonya stated she got som ething put m e in
  m y resting place and 1have A ids.
  21.    July 25,2016 W ent too M iam iPolice D epartm ent Case num ber 160708-206385 Officer

  Leonardo Diaz for Sim ple A ssaultorBattery againstSonya Ransom
         July 27,2016 l w ent too courtw ith M thony Raggs and received a one year restraining
  order againstSonya Ransom .
                                               HA RM SSM EN T
                                                 A U GU ST 2016
  23.    August 24,20 16 Sonya Ransom follow ed m e and approach m e in M iam i Gardens and I
  called herprobation officer and nothing w as done they asked hertoo leave m e alone.




                            3 IPlaintifrsSecond mended omplaint  x. .
                                è
                                xx .' k $. .
                                x ) . .$ ' 'x.x m.
                                                 b
                                                 ..x
                                                   . xs
                                                      .:).
                                                         k
                                                         )$. k.
                                                           '  't'
                                                                .
                                                                    .. y
                                                                       j.
                                                                        h
                                                                        . lx.
                                                                            :
                                                                            . .y
                                                                               1.
                                                                                ..x.
                                                                                   .)
                                                                                    )$..x
                                                                                        .ts.7.k
Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 10 of 24




                                               SEPTEM BER 2016
         September 30,2016 W rote a complainttoo courtsand union hallagainstSonya Ransom
  for stillcontinued Harrassm entand threatening too killm e aûer the restraining order.Nothing
  w as done aboutit.
                                          OCTOBER 2016

  25.    OCTOBER 01,2016 wrote anotherreporttoo union halland called North M iamiPolice
  and courts against Sonya Ransom continuing harassm ent and threatening to shoot m e from
  Sonya Ransom and nothing w as done aboutit.Case num ber 2016-3051l
  26.    O ctober 2,2016 Reported to the hall wrote Judge D eborah W hite-l-abour.l stated that
  Sonya Ransom continues too Harass and threaten m y life, Stalking, Slander,harassing phone
  calls,Harassing textm essages.
         M y car w as vandalism and Sonya refuse to leave m e alone. G ave letters to the hall.
  N othing w as done atthe courtsorthe union hall.Case num ber 2016-30618 O ctober03,2016 M y
                                           V AN D ALISM

  28.    W indow wasbusted out.W enttoo SuperiorAuto Glasspaid $117.00 forfrontdoorglass.
         N ovem ber 15,2016 M y W indshield w asbusted went too Cheapo A uto Glass to replace it

  for$175.00 lhavethereceipt.
         July 7,2017, I w rote another letter and called Police report 2017.
                                                                           .458 against Sonya
  Ransom W indow sbusted out.
                                    H A RM SSM EN T IN CLA SS
                                         N ovem ber 17,2017
                                   M ule Class w ith ElToro W allace

  30. ArthurNelsonjrhitmy Mulewhileparked inthelaneandhecovered itup.Failedmein
  the and refused to give m y M ule license.
         June 20l8 W entK enneth Riley and stated thatElToro W allace w as show ing favolitism
  in the MuleClassand signing offpeoplejustwalking up.lbacked up 45 and 20 footseveral
  tim es and refused too sign m e offand give m e m y license.D rove the M ule 2 years.
                            4    Iaintif s Second      ended o plaint
Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 11 of 24




  32.    EL Torro gave license too allthe ladies thatboughthim liquor, cigars,food and gifts.I
  eomplained thatthe otherladiestore down the fence in cargo,hitthe terminalF with M ule, hit
  the security boothsand tore itdown.Even Rev Holtran the mule overthe barricadeand hestill
  gave them a license.Kenneth Riley said okay and did nothing.
  33.    Also complained Iwasmoved from the advanced with Dana Ferguson and Rick Flem ing
  fornothing.Danaand Rick stated too look she drovenow and sign herofr.ElTorrorefused.
  34.    Iwassenttoo beginner's class and washumiliated by doing the exercisesoverand over
  w hen Ipassed thatsection already.
  35.    l called President Ellis Caty Sr he started cursing and scream ing at m e and w ould not
  help m eandtook E1Torro W allace side.Classend and stilldid notgetm y license.
                                   HA RRA SSM EN T O N TH E JO B
                                                    FEBRU A RY 2019

         February 18,2019 wrote K isha Rule up for harassing m e w hile w orking by the ship
  continued yelling and clzrsing atm eofftheship.
  37.    Kisha begin stating tellthatlaborer too com e overhere and break dow n these boxes.This
  was the 3rd tim e K isha trying to bully m e because she w ants to be the boss because Kisha w as
  going w ith the H eaders.
  38.    Kisha w ould follow m e and harass too startconfusion.K isha Rhule w as slandering m y
  nam e at 1526 telling them nothelp m e go to w ork and nottake m y card because w hatshe had to
  do to getw ork.
         Kisha w as harassing m e Brow ard county and Port of M iam i.Telling a1l the ladies and
  m en l am N o Good.Kisha had 1000 hrs.taken from her from ghosting the payrolland people
  wasgossiping abouther and notm e.Kisha continued too harassm e stating w as m e.N othing w as
  done aboutherbehavior either.




                              5IPlaintif sSecond mended omplaint
                                 o.''
                                    . '
                                      .   <.t 1
                                              ..k   ': x .
                                                         (4
                                                          .'   &' a   . 'x
                                                                      '      t xl 'x. k >
Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 12 of 24




                                H AR RA SSING TEX T M ESSA G ES
                                                    M A Y 2019
  40.    M ay 02,2019 1:51pm Ireceived Threats a text m essage''Y ou betterhope you don'thave
  a bad accident.''
  41.    M ay 02,2019 1:52 p.m . I received Text m essage Threats Stuff w ill go to a whole
  differentlevel.
  42.    M ay 02,2019 1:53 p.m .l received Threats ''But l do know if you Fuck round and get
  stupid you going to getexactly whattheFuck you Iooking for''.
  43.    M ay 02,2019 1:54 p.m .Ireceived Threats ''K eep m y N am e outyour M outh''.
  44.    M ay 02,2019 1:56 p.m . Ireceived Tlzreats Iknow w here you live Too.''
  45.    M ay 02,20 19 2:03p.m .lreceived Threats ''Check itI'
                                                             m out.Clzz this m ight lead to your
  throatgetling cutorw orse''
                                              HA RRA SSM EN T
                                                   M AY 2019

  46.    M ay 05,2019 Ray G ranthad m e pulling chains by m yself.
         M ay 15,2019 l Spoke to K enneth Riley aboutthe header Ray Grant is Sonya Ransom
  cousin and w as very nasty too m e.
  48.    M ay 31,2019 Stephen W ingard w asnzde and nasty too m e.
                                              H A RRA SSM EN T
                                                   JU N E 2019
  49.    June 12,2019,IG ave Larry M cKnighta letter com plaining A ngela playing on m y phone

  and texting m e.Angelawaspassing by my houseand harassing me.
         E1Torro W allace w as talking too M gela Robinson A rchie.A ngela was H arassing m e in

  frontofTarah Bloomtield andothercoworkersand wastrying too fightmesaying Ishouldjust
  do like she did too gether license and buy gifts and be nice she did it.




                            6 IPlaintiff'sSecondAmended Complaint
                                 .stt . k t nk ..:) , t) .ë ,x,t* )
                                                                  .',.. .s 4...' ? . t tjj
Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 13 of 24




         Nothing was done aboutAngela behavior and 1 wrote a letter, and itw as throw n out.

  LarryM cKnightstatedin frontofElTorro W allacelshouldjustbeniceandkissand makeup.I
  refused too.
                                               EEO C
         June 13,2019 I Filed EEO C com plaint against International Longshorem an A ssociation
  aboutdiscrim ination from E1Torro W allace.EEOC did nothing to help m e.510-2020-01531
                                          HA RR A SSM EN T
                                            JULY 2019
  53.    July 11,2019 A nthony cursed m e out and called a11 kind of derogatory nam es for no
  reason.Igave him food and place to livew hen he w ashom eless.
         July 25,2019 Stephen W ingard cursed me out.l emailed Kenneth Riley aboutStephen
  W ingard behavior and he did nothing.
                                          H A RRA SSM EN T
                                           AU G U ST 2019
  55.    A ugust 02,2019 texted K enneth Riley that Stephen W ingard w as letting Gw endolyn
  Chesm ut drive the M ule without a license and I started before her and he doesn't let m e drive
  w ithouta license.
         A ugust 05,2019 l texted K enneth R iley A ngela started confusion again sitting by m e
  H arassing m e with Gw endolyn Chesm utand slandering m e to other co workers.A ugust02,2019
  Stephen W ingard 1etG w endolyn Chesm utdrive w ithouta license.
         Stephen W ingard w as very nasty too m e.Stephen W ingard w ould notallow m e to go too
  w ork.A ugust 17,2019 texted Kenneth Riley thatAngela Robinson A rchie w as spreading vicious
  lies on m e.




                           7 IPlaintifrsSecond Amended Complaint
Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 14 of 24




             LETTERS TO INTERNATIONAL. LON GSHOREM AN ASSOCIATION
                                                 AU G U ST 2019
  58.    August l7,2019, I w rote a letter too International Longshorem an A ssociation H arold
  D aggettand A llen Robb thatAngela Robinson A rchie w asthreatening m y life and H arassing m e
  in therestroom and trying to tightm e.
  59.    lW alked away.M gela stated in frontPresidentEllis Canty Sr,co workers and wim ess
  Atwan Curgilheard A ngela callm e derogatory nam es you need to go to w ork and getyou som e

  m oney.
  60.    They did nothing abouther behavior.They 1etAngela do w hatshe w antstoo.Istated that
  Angelakeepstaking picturesofm eandrecording m e.Following me in the parking
  lotand H arassing m e w anting too fight.
                                                             SSM EN T
                                                 AU G U ST 2019
  61.    A ugust 18,2019 Gw endolyn Chesm ut continued pointing fingers at m e stating she w as
  going to killm e and stating Buck,Buck Buck.Iam going to killyou.
  62.    August 20,2019 Angela Robinson A rchie continues snapping pictures of m e to harrass
  m e.

         August 24,2019 A ngela Robinson Archie w as slandering m e too the Security G uard
  Am erican Guard Takia Stating l am No G ood and she w as trying to get m e tired. A ugust
  24,2019 Stephen W ingard 1etpicked Gw endolyn overm e to go back-to-back to w ork.
                                                     M EETIN G
         August 27th 2019 LRC M eeting w ith Angela Robinson A rchie, Torin Ragin, A lex
  Forsten & Louis G onzalez.
         Angela Robinson A rchie w as show ed favoritism .A ngela stated l w anther fired and she

  doesnotdeservethisjob.



                            8IPlaintif sSecond mended omplaint
                                 x  o .
                                      L
                                      .k
                                 x) . k..ërk.x
                                          .. ..'
                                               .a..xkkx
                                                      . l.$
                                                          <.q
                                                            . k.' $
                                                                  t .'
                                                                     ....
                                                                        ..x..
                                                                            , 1
                                                                              .. .1kx
                                                                                    .. )
                                                                                       x. '$
Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 15 of 24




  66.    Ibeen working asa Longshorem an foryearsand showed Angelahow to go to the Portof
  M iam iand the M ule classand Angela gave me gasm oney than she turned on me and became

  veryjealousshewasnotabletoogotoworklikeme.
         lstated she is a kouble m aker and a zero on hercard she should be the one flred.
  68.    I am not bothering this A ngela.A ngela keeps confusion going and telling those other
  ladies too harrass and attack m e for no reason.M gela stated 1 wanttoo go too the LRC and

  Charisse betired.LouisGonzalezasked Angelacan wejustgo back too work andjustleave
  eachotheralone.

  69. Iam notthereforhertoolikejustgotoowork.Angelacontinuedtoo harrassme.lnstead
  ofthem ending the confusion they keptthe confusion going and giving M gela herw ay show ing
  favoritism .M gelalied abouteveN hing.
                                                               SSM EN T

                                                   AU G U ST 2019
  70.    A ugust30,2019 Shakia told the H eadertoo notpick m e and pick som eone else instead of
  m C.

                                                    FA V O RTISM
                                               SEPTEM BER 2019
  71.    Septem ber 06, 2019 Stephen W ingard sent A ngela R obinson Archie to w ork over m e.

  Stephen W ingardcanceledmyjob and hadmegoingalltheway from theunion halltoothePol4
  ofM iam i.
         Septem ber 07, 2019, I w rote Stephen W ingard up for his behavior w ith m e and
  M anagem entdid nothing.

  73.    September10,20191wenttootheEEOC tocomplain abouthow Iam treatedonmyjob.
  74.    Septem ber l3,2019 Stephen W ingard w as nasty to m e again.

  75.    September 15,2019 M gela Robinson Archie was cursing Charles Sallette jroutand
  nothing wasdone to her.



                            9 lPlaintifrsSecond mended omplaint
                                xx'
                                 N% .
                                .. .
                                x     h.
                                       k.)
                                         .t. t..s
                                                . *x'
                                                    .1 x.xk
                                                          ..
                                                           )..1
                                                              . $.
                                                                 ;
                                                                 .o.X' .
                                                                       .l).
                                                                          k
                                                                          . tx.
                                                                              4
                                                                              . t
                                                                                z.'x) k.x
                                                                                        .. j
                                                                                           x x)
                                                                                              j
Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 16 of 24




                                                FAVORITISM
                                            SEPTEM BER 2019
         Septem ber 15,2019 Stephen W ingard picked Barbara from Broward overm e.
         Septem ber l7,2019 Stephen W ingard Picked Gwendolyn overm e and sentherto work
  w ith the     .
         Septem ber 18,2019 Stephen W ingard picked Sybiloverm e.
         Septem ber 19,2019 Jim picked Angela R obinson Archie overm e.
  80.    Septem ber 20,2019 Itexted Kem zeth Riley Stephen W ingard Recording Secretary m akes
  sure I do not go to w ork and picks a11 around m e and alw ays arguing and cursing loud in the
  union halltoo co w orkers

         Septem ber 20,2019 Stephen W ingard refused to pick m e forw ork.
  82.    Septem ber 20,2019 Gw endolyn Chestnutw as yelling across the room atm e that Inever
  w ent too Savanah G eorgia and K enneth Riley w as right there and he did nothing.W e spoke
  aboutGw endolyn ghosting payrolland he did nothing aboutit.
                                                   HA R RA SSM EN T
                                            SEPTEM BER 2019

         Septem ber 27,2019,1 texted Kenneth Riley they are putting Gw endolyn Chesm ut in
  front of m e showing favoritism .She w as living Savanah G eorgia how does she go before m e.
  Gw endolyn Chestnutis ghosting the payroll.
         Septem ber 28, 2019 G w endolyn Chesm ut started H arassing atthe boat and threatening
  m y life.Linton Colem an Header started cursing atm e telling m e to getoffthe forkliftand go on
  the ship throw hisluggage.
                                                FA VO RITISM
                                              O CTO BER 2019
  85.    O ctober04,2019 John H owellshow ed Favoritism and picked Gw endolyn over m e.




                           10 IPl
                                '
                                   aintifpsSec
                                'h' o       s
                                              ond me nded omplaint
                                                             x'
                                                   )x. : :.' . !.
                                 - .
                                                                k eL k- t .l x.. x.xè
                                       t l L.s 'tk x.. ll 1 k7: î
Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 17 of 24




                                          HARRASSM ENT
                                           O CTO BER 2019
  86.    October 18,2019 Stephen W ingard called m e pretending he was looking for Charles
  Peyton.
  87.    October 24,2019 lcalled EllisCanty Srhe so nasty and nzde too me.Itold him I felt
  feverish and sick.EllisCanty Srstated ifdon'tshow up forwork.lam going to be suspended.
                                          N OV EM B ER 2019
  88.    N ovem ber 02, 2019 Donna Belton w as H arassing calling m e derogatory nam es from
  across the room .Shakia Faithe kicked m e out of shape up and 1et her stay in the union hall.I
  wrote D onna Belton up.

                                             FA V O RTISM
  89.    N ovem ber 07,2019 Stephen W ingard picked Gw endolyn overm e again
  90.    N ovem ber 08, 2019 Stephen W ingard 1et G w endolyn Chesm ut go back to w ork w ith
  favoritism asusually.
                                          HA RRA SSM EN T
         N ovem ber 26,2019,l w rote Gw endolyn Chesm utand D onna up for threatening m y life
  and H arassm ent.
         N ovem ber 28,2019 Gw endolyn Chestnutw as H arassing m e pushing m e in m y back and
  trying to trip m e up.
                                      G RIEV A N CE H EARJN G
  93.    Decem ber 03, 2019, I w ent too Grievance H earing LRC board w ith A ngela Robinson
  Archie G w endolyn Chesm ut,Donna Belton.
         Angela Robinson A rchie boughtdonuts and coffee.The board m em bers w as in the oftice
  w ith them eating and ddnking coffee laughing and talking w ith allthe ladies.Iw as sitting with
  witnessN athanielSpann in the lobby.LRC board w as bias in the healing.A 1lladies lied on m e I
  never harrassed them ortouched them .LRC board m em bersbelieve allthe ladiesstatem ents.


                            11IPlaintif sSecond m ended omplaint
                                Ny   ) j u :&x x y) ! 2y t * .a t: ; ) k j y
Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 18 of 24




                                                      RETA LIATION
                                                         D ECEM BER

                                               DECEM BER 05,2019
         The board Suspended m e 30 days withoutpay and 1wastold lcould notret'urn without
  Anger M anagem ent.
  96.    Iwasalso put-on finalwarning and anything 1do Iwillbe flred.1waswithoutwork for
  60dayswithoutpay.Icalled too find aboutthe classesthey cost$l75 a piece and ourinsurance
  refuseto pay it.ldidnotattend the classes.
         lcould notafford too pay forthem .Iwrote lettersagainstthese ladiesforHarassing me.
  This retaliation 1received from it.LRC board didn'tgive them anything sm iled and laughed with
  them and letthem go back too work.
                                                   HA RRA SSM EN T

  98.    December 05,2019,Iwrote up Linton Colem an for lnsubordination and Harassm entfor
  cursing m e out.
  99.    D ecem ber 06,2019,lw rote AppealsLetterfor 30day Suspension
                                                            LETTERS

                                                     JA N UA RY 2020
  100. January 03, 2020,1 received a Letter * om EEOC assigned a investigator.N othing w as
  done.January 06,2020,1 w rote A ppeals letter foran Suspension 30day and AngerM anagem ent
  lettertoo lnternationalLongshorem an A ssociation.

  101. January7,2020,IwenttootheEEOC forfurtherretaliation onmyjob.510-201904595
  102. January 21,2020,1received a Letterfrom EEO C Confidentiality A greem entand letter to
  M ediate from EEO C signed itand sentitback.
         lLA changed their m ind aflerIagreed to it.
  104. January 27, 2020,I received letter from EEO C January 30,2020 I Received letter from
  EEO C from N eilFlaxm an.

                          *
                          d
                          '

                          12     Ial
                                   -ntif sSecond
                                  ''
                                                                                    ended o plaint    '
                                                                                                      '
                               '.
                                '
                                ..tt .:. .
                                 .:
                                 L       : j .)
                                         j
                                         (    t:.)       ?.jj... të
                                                 ...... .)            ty (
                                                                      .. .'''
                                                                         j      ...'..:.t).   ..
                                                                                              .)?   @:(. gj y...r .:. ..j
                                                                                                    1
                                                                                                    y                   y.
Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 19 of 24




                                             H A RRA SSM EN T
  105. February 09,2020 Angela Robinson Archie approached m e trying while I speaking
  Johnny D ixson about a m issing check Iw as looking for.A ngela Robinson A rchie was trying to
  startconfusion.
          February 10, 2020, I started back too w ork after Louis G onzalez called m e too com e
  back.
  107. Keith stated w om en don'tbelong on the dock in frontofPoo H eader .
                                                         LETTER S
                                            FEBRU A RY 2020
  108. February 11,2020,l wrote Position statem entfor EEOC too lntem ationalLongshorem an
  A ssociation


                                             HA RR ASSM EN T

                                            FEBRU AR Y 2020
  109. February 12, 2020 Chris approach m e blow ing his bad breath in m y face in the union
  hall.Justwalked aw ay because he is crazy and take m edicine.
          February 14, 2020 Ray Grant w as driving top loader w as trying to nm m e over on
  pum ose severaltim es.W itness N athanielSpann.

                                     SEXU A L H A RRA SSM EN T
          Febnzary 19,2020 AlbertColeman kepttouching on and telling me too sitin hislap and
  whathe w anted to do to m e in front Ike cow orker. Cow orkersthoughtitw asfunny.Istated that
  w as SexualH anussm entand Iw as going to reporthim .
                                                FAV O RTISM
          February 21,2020 Ellis Canty Sr and Cham p let Gw endolyn Chesm ut go back to w ork

  and could notgoback towork.February 23,2020 EllisCantyjrmadean outburstcursing loud
  and notsuspended and w as aboutto tight.N o w rite up.


                           13IPlaintifrsSecond Amended Complaint
                                l
                                '
                                l
                                .*
                                è < k.l1
                                       . k'
                                          :*'
                                         x. 77x.'1
                                                 '
                                                 11.. t'1
                                                      .. .
                                                         >* j'
                                                           .î. 1..' g
                                                                    jy
                                                                     q'
                                                                      ..x*
                                                                         ! ..%. fv'.lflb
                                                                         . b
Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 20 of 24




                                                HA RRA SSM EN T
  1l3. February 27,2020 M ichaelM iller was dnm k at the hallw alks up to m e and called m e
  derogatory nam es
         February 28,2020 M ichaelM iller cam e up too m e (114111k again called m e derogatory
  nam es.M ichaeldidn'treceive no w rite up.
                                                   M A RCH 2020
  115. M A RCH 01,2020 Bobbie Colem an keptbothering m e ltold too leave m e alone.
  116. M arch 09,2020 Angela Robinson Archie sentDemetrius Collins and Anthony Johnson
  too state she w ants too fightm e and A ngela states she has a problem w ith.1 said w hy are you'll
  alw aysharassing m e with this w om en leave m e alone.
  Iam on Finalw arning and she gotm e suspended and stillharassing m e.
                                                           EEO C
         M arch 13,2020 Iw entback to the EEO C to com plain aboutretaliation again.
                                                H AR RA SSM EN T
  118. M arch 15,2020 Ellis Canty Sr took m e off Brookins boat and sent too drive forkliftfor
  Colem an for N o reason.
                                       SSING PH ON E CA LLS AN D TEXT
         April 17,2020 K iara H erbinger and F B attle w as calling m e harrassing m e on the phone
  and cursing m e outa1lnightlong and texting m e .
                                                       LETTERS
                                                       M A Y 2020
  120. M ay 07,2020 Ireceived letter from EEOC aboutthey investigating m y case.
         M ay 29,2020 Iw rote a Glievance letterto the Intem ationalLongshorem an Association
                                                   V AN D A LISM
  122. June 07,2020 Som eone slashed atm y house.




                             14 IPlaintif sSecond mended omplaint
                                 b.'.
                                    k .è ) ') k..'x;'k 'ai
                                                         j.'
                                                           $y   k y% t ).k ty 4..
                                                                .               '.' .) x :.s
                                                                                           .
Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 21 of 24




                                                       EEO C
        June 18,2020 l Spoke w ith Supervisor Jacqueline Gabriel EEOC about m y case and
  stated shehassom eoneworking on my case.Consulo Nader.
        July 13 ,2020 IReceived a R ightto Sue Letter from EEO C Consqulo N adar
                                                   LETTERS

  125. Septem ber26,2020,Iwrotelettertoo lnternationalLongshoreman
        October 14,2020,Isentm y paperw ork too U S State Courts form y Law suitagainstILA
        December 02,2020, I received letter from lntem ational Longshorem an Association
  response aboutm ediation.                                                            ,.' )
                                                                                           ,
                                                                                         ;.'
                                                                                        ''
                                                                                                                 .   I
                                                                                                                     '
                                                                                                                     j
                                                                                                             ?       ,
                                                                                                                     E   ....         -t
                                                                                                                                       7'#
                                                                                                                                       .
                                                                                                  .


                                                                                                      t
                                                                                                          .j             .      .7'
                                                                                                                                      ,.
                                                                                                          Charisse T.S     rs '
                                                                                                            P.O .BO X 471346
                                                                                                            M iam i7FL 33247
                                                                                                                 (786)366-9499
                                                                                               l
                                                                                               -Aïpbreyril':tspbqg i,
                                                                                                                    u
                                                                                                                    '
                                                                                                                    kx
                                                                                                                     - zn/il.çorn




                         151PlaintifrsSecond mended omplaint
                              y
                              xhb 'o . t.,
                              x . k.t $  ..o
                                           ....m)
                                                .)k ..s
                                                      . 1)
                                                         .?. ik, ù
                                                                 t :. C
                                                                      '..:
                                                                         ..$x.> t xl x..
                                                                                       ..$
                                                                                         x''.st
Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 22 of 24



                                                   V ER IFICA TIO N

         1,the undersigned,being of sound m inds and com petentto testify asto the truthfulnessof

  the statem ents m ade hereinabove,after being duly sworn, under the pains and penalties of

  perjury,hereby certify thatIhave read theforegoing document,and hereby afftrm thatIhave
  personal knowledge of the facts therein,and to the best of my knowledge,information,and

  belief,the foregoing istrue and correct.

         Iunderstand that I am sw earing or affirm ing underoath to the truthfulness ofthe claim s

  m ade in this m otion and that the punishm ent for knowingly m aking a false statem ent includes

  fines and/or im prisonm ent.
                                                                                               /c                                  --'.
                                                                                                                                      /
                                                                                      (-'-q
                                                                                          ./'
                                                                                            ;'                       ,         -        ''   .    -
                                                                                                                                                  .
                                                                                      ;     ,,
                                                                                      t
                                                                                      ,,                        j!   .     .
                                                                                                                               .   j)
                                                                                                                                   4:..f;
                                                                                                                                   1                  ..
                                                                                                                                                      ,

                                                                                                                         Charisse T.St g rs
                                                                                                                           P.O .B OX 471346
                                                                                                                           M iam i,FL 33247
                                                                                                                               (786)366-9499
                                                                                                         rlls-pt
                                                                                                               nerristspbelqri-ti
                                                                                                                                -i
                                                                                                                                 ag
                                                                                                                                 l m gilatt
                                                                                                                                          x !)g




                           16IPlaintif sSecond m ended omplaint
                                 bs.x
                                 .. j'.     )k
                                          k.k
                                            . j k.
                                                 x. .
                                                    'xk
                                                    . :.
                                                       x b..x.
                                                             k.gl !.. $k.
                                                                        yl#   yk
                                                                              k ;.
                                                                                 k. eu.
                                                                                      $ 4
                                                                                        k x
                                                                                          .x
                                                                                           t k.
                                                                                           '  '.
                                                                                               vk1'.x
                                                                                                    xN
                                                                                                     ;
Case 1:20-cv-24202-BB Document 23 Entered on FLSD Docket 02/19/2021 Page 23 of 24



                                    C ER TIFIC A TE O F SERV IC E

         1,the undersigned,hereby certitiesthaton the 17thday ofJanuary 2020 viaUnited States

  Postal Service, First-class, postage pre-paid, that I m ailed a true and com plete copy of the

  foregoing instrum entto:

                                HOW ARD S.SUSSKIND (184696)
                              D.MARCUS BRASW ELL,JR.(146160)
                                  SUG A RM A N & SU SSK IN D ,P.A .
                                     100 M iracle M ile,Suite 300
                                    CoralG ables,Florida 33134
                                         Tel.(305)529-2801
                                         Fax.(305)447-8115
                                  hsusskind@ suga= ansusskind.com

                                                                               t'-
                                                                                 h/,
                                                                                   e'
                                                                                    )   ,,       .
                                                                                                                       ,-
                                                                              /          '
                                                                                    .                      .
                                                                                                               J .       .
                                                                                                                               .         (...

                                                                                                         CharisseT.St g s
                                                                                                          P.O .BOX 471346
                                                                                                           M iam i.FL 33247
                                                                                                                 (786)366-9499
                                                                                               spbçr'ril-ttjkt-
                                                                                                              lt'
                                                                                                                lktrrir
                                                                                                                      -l
                                                                                                                       t-
                                                                                                                        'ga
                                                                                                                          rllgi1,4)!
                                                                                                                                   pq)




                             17IPl
                                 -R
                                   aintifrsSe
                                  ) p . q , o.s.x z
                                  .s-x
                                                     cond
                                                  . x.
                                                          Amende
                                                     x j . tm
                                                                       d Complaint
                                                            . . 't.. s L.' c x. t k
                                  x . . .t i
                                           .k... i.
                                                  :t.t..   l1
                                                            .'è t? w   '. 2
                                                                          ..$x. i
                                                                                4 .t '
                                                                                     x.. k .
                                                                                           x
l        m -Case 1:20-cv-24202-BB
                  RQmD P
                       ------ zDocument 23                                                                                                              Entered
                                                                                                                                                                     x
                                                                                                                                                                     Y
                                                                                                                                                                     =
                                                                                                                                                                on FLSD
                                                                                                                                                                                                             I
                                                                                                                                                                                                             u                          *                         W
                                                                                                                                                                                                                                                                  -
                                                                                                                                                                                                                                                                  >W
                                                                                                                                                          *          I Docket 02/19/2021 Page 24 of 24
         om
          Q                    o                                      --- c
         Uu                    -                                                              g                     .' & s wM    =                                                                U                                             m                 o
         u'>                   D                                                              p                     ',u.
                                                                                                                       d!,(
                                                                                                                          .g..                                                                    >
         -m                    u                                                              m                          .> yxq                                                                 o <                                      =o o x
          u
          -
          --o                  x                                                              >                           o   v                 .                                                 ox                                     =.a
                                                                                                                                                                                                                                         a u(g .-
                                                                                                                                                                                                                                                >
          o .
          x &
                               m                  -- -                -----                                               %: .
                                                                                                                             ,o.
                                                                                                                          œ .$                              .                                   ç                                        (
                                                                                                                                                                                                                                         m
                                                                                                                                                                                                                                         y,w
                                                                                                                                                                                                                                         tar
                                                                                                                                                                                                                                           wow
                                                                                                                                                                                                                                              ,.o                      a
         oou                                                                                                                                    .                                 a             t
                                                                                                                                                                                                BM                                       o
                                                                                                                                                                                                                                         =urro
                                                                                                                                                                                                                                             o                         *
         u
         om
         -                                                       -.. --                                                                                                           o
                                                                                                                                                                                  o             o
                                                                                                                                                                                                o                                        x
                                                                                                                                                                                                                                         p? =
                                                                                                                                                                                                                                            w                          %
                                                                                                                                                                                                                                                                       *
                                                                                                                                                                                                                                         =  -4                         -
                                                                                                                                                                                  O             N                                        W                             <                                                                 '

                                                                                                                                                                                                                                                                        M
                                                                                                                                                                                                                                                                        X
                                                                                                                                                                                                                                                                        M
                                                                                                                                                                                                                                                                           11
                                                                                                                                                                                                                                                                           X
             C
             o   .                            . %XwV
                                                   o                                                                                        zo &o                                                                                                                          X                   it
             = .                                %o                                                                                                               .                                                                                                         a-
                                                                                                                                                                                                                                                                           r
             m
             o
             .                                  -
                                                =
                                                . r
                                                  o o
                                                    .                                                                                   o,-.%e.-p.œ                                                                                                                        x
             o                                  * * o.                                                                                                               O z' .                                                                                            . Mk
             l
             -
                            .                   o
                                                xNs o                                                                                                                          Po                                                                                         o'
             N                                        o          .v ..                                                                                                                                                                                                   ..
             o        .                           K uzp
                                                      df
                                                      e o
                                                                                                                                                                                                                                                                           'm>
             c
             Q


                                                                                                                                                                                                 +
                                                                                                          u.                            )..                              1s'
                                                                                                                                                                         .                       X f                                                                                                                            z
                                                                                          .
                                                                                          -'ç
                                                                                            $             ..
                                                                                                           tto.                         '.,
                                                                                                                                          .                               ''
                                                                                                                                                                           c.
                                                                                                                                                                            u
                                                                                                                                                                            :.
                                                                                                                                                                            ..
                                                                                                                                                                                                 -
                                                                                                                                                                                                 O                                                                                                                     vwrz
                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                                                           o,..
                                                                                                                                                                                                                                                                                                                              '
                                                                                                  .-             ..--
                                                                                                                        à                                            .
                                                                                                                                                                                  '.
                                                                                                                                                                                                    I                                                                                                           .
                                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                    ,.p.
.                                                                                                 Q
                                                                                                  y                      '
                                                                                                                         .x s                           s
                                                                                                                                                        ..
                                                                                                                                                        ,,                             < )ç%.                              -                                                                                    w.
                                                                                                                            t.-
                                                                                                  1
                                                                                                  =!
                                                                                                  -'*                            d-
                                                                                                                                  ..
                                                                                                                                                            .
                                                                                                                                                                j.
                                                                                                                                                                 .- g
                                                                                                                                                                    ,q
                                                                                                                                                                     jj
                                                                                                                                                                     .-4
                                                                                                                                                                       '
                                                                                                                                                                       ::::
                                                                                                                                                                        . 1
                                                                                                                                                                          h..
                                                                                                                                                                            )i
                                                                                                                                                                             Vl
                                                                                                                                                                             .r-v
                                                                                                                                                                                '                                                                                                                              ï
                                                                                                                                                                                                                                                                                                               c
                                                                                                                                                                                                                                                                                                               &              t-    .;
                                                                                                                                                                                                                                                                                                                                     q
                                                                                                                                                                                                                                                                                                                                     r
                                 .
                                                                                                   B:                             .
                                                                                                                                  . .
                                                                                                                                     .                             kp r  gpn>':
                                                                                                                                                                          .
                                                                                                                                                                         ,.
                                                                                                                                                                                .,                                                                                                                              f             A
                                                                                                                                                                                                                                                                                                                              '.e
                                                                                                                                                                                                                                                                                                                                .. x
                                                                                                                                                                                                                                                                                                               r.
                                                                                                                                                                         . .
                                                                                                                                                                         ,                          -

                           .              .
                                      .: .t
                                               :                                  :
                                                                                  .                <                                ..-                                   -.
                                                                                                                                                                           j
                                                                                                                                                                           okf o k
                                                                                                                                                                                 a?                                                                                                                                               ,.
                          ., ,
                          tçr.                                                                                                                                                ----vk.-<'-' ' kn                                                                                                                .
                             '    '
                             y, ...-) ,,...-)
                                            ?
                                            .
                                                '
                                             . ..
                                               .
                                                                                  '
                                                                                  (
                                                                                  ,
                                                                                                                  .. .                                  .
                                                                                                                                                        ,                       1
                                                                                                                                                                                2
                                                                                                                                                                                .-
                                                                                                                                                                                 -1
                                                                                                                                                                                  .s
                                                                                                                                                                                   ,                    -
                                                                                                                                                                                                        i
                                                                                                                                                                                                        7
                                                                                                                                                                                                        tt
                                                                                                                                                                                                         :
                                                                                                                                                                                                         tk,
                                                                                                                                                                                                           11111111
                                                                                                                                                                                                                  k                                                                                    .
                                                                                                                                                                                                                                                                                                       -
                                                                                                                                                                                                                                                                                                       ..-
                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                         -.
                                                                                                                                                                                                                                                                                                          '                         .
                          't
                           1:   ' '
                                      . '.
                                             ,
                           j
                           '
                           )
                           '.
                                           :'.ï''. .                                                                                                               C-'                                                                                                                '             ..pa
                           .
                           '
                            .
                             j1 .
                               .),+
                              1ï8. qi
                                     '
                                     .:  ''.!
                                            '
                                            y
                                            v
                                             y
                                             )
                                             -
                                              !.@
                                              )
                                             fvt
                                                ,
                                                ' )')'...:.'!
                                                ! 9 -h
                                                                                                                                                                .
                                                                                                                                                                4
                                                                                                                                                                1
                                                                                                                                                                ::
                                                                                                                                                                     b '
                                                                                                                                                                   kz.
                                                                                                                                                                 j $
                                                                                                                                                                   .;,
                                                                                                                                                                     .
                                                                                                                                                                     :
                                                                                                                                                                     ,..
                                                                                                                                                                       -.
                                                                                                                                                                         .:-...
                                                                                                                                                                              ..
                                                                                                                                                                              -
                                                                                                                                                                              '
                                                                                                                                                                        '-;' jj
                                                                                                                                                                               ,.j
                                                                                                                                                                                .h
                                                                                                                                                                                 j
                                                                                                                                                                                                                                 >                                                                    '                             .
                                                                                                                                                                                 k
                              !.
                              î '.' : ..
                                      %     :
                                            '>
                                             j
                                             àït
                                             x  >..
                                                  ,-  s
                                                      .'.. .?l            ,        -
                                                                                   .
                                                                                   ,-,
                                                                                     -
                                                                                     '$ p ts   .;rt z
                                                                                                    kb %
                                                                                                       ..
                                                                                                        4
                                                                                                        6.4
                                                                                                        ' ,                                                                                                                                                                                                                         .
                                  .k            :. .u .l
                            lk
                             ri ;.
                                .  9
                                   l
                                   -r ...-
                                   c3    ,,-,h
                                             ;j
                                              k.   1111
                                                      .1. -u :
                                                         1k  :ô            c  gk   g   ..
                                                                                        p     . r  .-.     j.                           .                                                                                                                                                                  .
                                                 j '4 k;:
                                                        ;
                                                        i
                                                        ..
                                                        -
                            ji' yzW- ,yl)l                    -k    -
                                                                    r:(q
                                                                       ;:
                                                                        ...
                                                                          ,
                                                                          :::
                                                                            , j.
                                                                               -
                             .
                             1  7;   .ù '
                                        'J  r:
                                              ..

                                              ' :t    .
                                                      '
                                                      k
                                                       ..
                                                       ;s '
                                                          j
                                                          q
                                                          i       ,
                                                                  . ,
                                                                    . .
                                                                      e        zj
                                                                                  .
                                                                                        k-.2
                                                                                          ..jk -)r:5;-oq .-
                                                                                                   -.             .--                                           -
                                                                                                                                                                .                    ..
                                                                                                                                                                               ,-. , ,,.
                             !4g)1
                                L28.;.17 7                        .,-' (::/
                                                                                           ...?.                                                                                                                                                                                                           .
                                                                                                                    .
                  .
                                ..... .
                                      q    -J).j.)
                                           $     -
                                                 4
                                                 .
                                                 h
                                                 j
                                                 k
                                                 ,
                                                 :
                                                 q
                                                 j:
                                                  yr
                                                   '' .
                                                      g
                                                      .
                                                      ,.? y         ,
                                                                    g
                                                                    ;:)
                                                                      ; .      '. tj
                                                                                   ,
                                                                                   l
                                                                                   '',
                                                                                   - c
                                                                                     '
                                                                                     l-
                                                                                      ' ,.l
                                                                                          i
                                                                                          -   .   -.$ k.y
                                                                                                       2                                                                                  .              .                                        4
                                                                                                                                                                                                                                                  1,
                             kj,
                              t    's
                                    :C  M.-
                                          .;,
                                            k
                                            4 ,
                                              ',
                                               1 ,
                                                 .
                                                 .
                                                 , .
                                                   e  ,
                                                      ,,.
                                                        ..,
                                                          .
                                                          .k
                                                           b  m     ,
                                                                    .   , r   '
                                                                              ocx  a     q s   .,  ,.   o                                                                                                                                                                                     :
                             i)'r''                                                        c.                                                                                                                                                                                a
                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                             o
                                                                                                                                                                                                                                                                                            s/:                                      ,
                                                                  .   .
                                     '                                                                                                                                           .

                               $:.    t-
                                       io.)y
                                     ., .
                                     '.
                                        .
                                              u
                                              . :'
                                                 t
                                                 jj'
                                                   :
                                                   M.. ,
                                                       t
                                                       ..
                                                        ?,
                                                         '.
                                                          'j o
                                                           .
                                                           ,  x -.  -
                                                                    .
                                                                    s. 7. j k      .3 -
                                                                                      ,   v ..                                              .                                                                                                                               .o
                                                                                                                                                                                                                                                                             .j .          j;                                       )'
                                                                                                                                                                                                                                                                                                                                     c,
                               t'  . :
                                     -
                                     '
                                     .
                                !-..:C.!'  '.
                                            ; t)
                                               F';
                                                 !
                                                 ' .'.. .
                                                        '.j
                                                          ?
                                                          '#
                                                           iq
                                                           ...u
                                                              d
                                                              r-
                                                               hp
                                                                s   1
                                                                    7
                                                                    1
                                                                          o
                                                                     ---* ., --:;- N
                                                                                !  --j
                                                                                     ,
                                                                                     .
                                                                                     -      .-            y.,,
                                                                                                             .
                                                                                                             -
                                                                                                             .
                                                                                                        ---' '                                                                                                                                                               >
                                                                                                                                                                                                                                                                             4
                                                                                                                                                                                                                                                                             : 2:,m
                                                                                                                                                                                                                                                                                  ;o
                                                                                                                                                                                                                                                                                  1 -
                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                    ,. ,ë.-.
                                                                                                                                                                                                                                                                                           >j
                                                                                                                                                                                                                                                                                            ,l
                                                                                                                                                                                                                                                                                             t
                                                                                                                                                                                                                                                                                             w.
                                                                                                                                                                                                                                                                                              .                                           a
                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                          rj
                            '          :j.
                                        ':t
                                          â
                                          '
                                          ?'
                                           et'
                                             c.
                                              -
                                              î.-'-.- . à
                                               r
                              ;$ -stg?,î'. rgt ;....'
                            ï-i
                              $                          j.
                                                         j
                                                          r.
                                                           r
                                                           *
                                                           '   :jE
                                                                 y1
                                                                  y:
                                                                   r:j
                                                                           ;  .
                                                                                          .
                                                                                                                                    y:j;
                                                                                                                                       r
                                                                                                                                       -
                                                                                                                                       '(l'k
                                                                                                                                         a
                                                                                                                                        ., '                                         t'
                                                                                                                                                                                      .,.,.                  -.
                                                                                                                                                                                                              .
                                                                                                                                                                                                                  yrrj.,,:::L
                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                       ..-
                                                                                                                                                                                                                                                                             ç-lr! ....' --'
                                                                                                                                                                                                                                                                                           l
                                                                                                                                                                                                                                                                                           . -. .
                                                                                                                                                                                                                                                                                             -,
                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                                                                                     .-.                                 -j-
                                      .:
                                       ;
                                       $, .
                                                        .)                                                                  w                       .                                     . .                     ;j;j....,.-                                                      ;:;;y         y,.
                             r..s.e.
                                  -L
                                   .
                                   ,
                                    .
                                    J
                                     i
                                     ,
                                     '
                                     l
                                     ,
                                     ,               .   ,
                                                         '
                                                         .      n                                                           ;.. .w (:), =. x                                                                      o,):4f,4                                                     m ..                                                       .t
                             (.
                              7
                              '
                              : ;
                               ';
                               L
                                 :.               q:. ,: -       5>                                                         k.al
                                                                                                                            . .. r
                                                                                                                                 c ç.k.. ry                                                      ..
                                                                                                                                                                                                .,                m
                                                                                                                                                                                                                  xN                         %
                                                                                                                                                                                                                                             a Q                               E! . ,t.''
                                                                                                                                                                                                                                                                                       ;                                                   '
                                                                                                                                                                                                                                                                                                                                           :
                              c
                           ' q ?tq.z
                                 :
                                              . ..
                                           g, .
                                           .  .    t'  .
                                                          h
                                                          :       P
                                                                  z           .
                                                                              .                                                  (#V y ow.o
                                                                                                                                    kr l .
                                                                                                                                         '                                                              :
                                                                                                                                                                                                        ,
                                                                                                                                                                                                        '         m
                                                                                                                                                                                                                  x
                                                                                                                                                                                                                  m cw                       w
                                                                                                                                                                                                                                             % a
                                                                                                                                                                                                                                               w                            .
                                                                                                                                                                                                                                                                            ysw.gj.4 )j
                                                                                                                                                                                                                                                                                      ,y,
                                                                                                                                                                                                                                                                                        .                                                ..j
                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                           .
                                       .t .                        ?                                                                                             (7
                                                                                                                                                                  )                                               m>                         % %                                   ..
                                      r.. ,,
                                                         '  i .    Q
                                                                                              .
                                                                                                                                                                 Cz                                               tc
                                                                                                                                                                                                                   oe                        >
                                                                                                                                                                                                                                             mmu                               .
                                                                                                                                                                                                                                                                                  s  r:.z.
                              qE.. .!r'.'..! , ..., 6       1
                                                            :       ''
                                                                     '
                                                                     -
                                                                     -
                                                                     r
                                                                     j
                                                                     .
                                                                     r
                                                                     ll
                                                                      k
                                                                      i
                                                                      !
                                                                      lj
                                                                          '
                                                                                                                                                                 ,
                                                                                                                                                                 4
                                                                                                                                                                 :-
                                                                                                                                                                  ,/
                                                                                                                                                                  .1
                                                                                                                                                                   (
                                                                                                                                                                   k                   '-
                                                                                                                                                                                                                     ,'!,dj:ç
                                                                                                                                                                                                                            :;,j;41:::::::
                                                                                                                                                                                                                                         ;   !1j,
                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                5-.''.
                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                         '')
                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                     (jj,
                                                                                                                                                                                                                                                        jjj;,jj                 '
                                                                                          .
                                          .                ,.         .
                                                              t.ly.. ' t'.'                                                                                                                                                                     jjj
                                                                                                                                                                                                                                                  ;,j)
                                          j.
                                           :
                                           ;              .612
                                                             .            j                                x                .                                      ,
                                                                                                                                                                    p                     ,f.
                                                                                                                                                                                            ,.                        cW
                                                                                                                                                                                                                      mm  m s
                                                                                                                                                                                                                          a
                                          à: j
                                           C
                                          ,y
                                              '  .
                                             j' ''
                                              !
                                                           *
                                                                                      ' :s.-.1., z
                                                                                                 :1C'. u
                                                                                                       .- A'                                                                                  .')..'
                                                                                                                                                                                                .
                                                                                                                                                                                                    p
                                                                                                                                                                                                                      Ilrïe.  s                                                                                                          .a
                                                                                                                                                                                                                                                                                                                                          (
                                          i,               !, .
                                                                                             .
                                                                                                           d                                                                                        .-
                                                                                                                                                                                                                       o jjg
                                                                                                                                                                                                                           ::j.
                                                                                                                                                                                                                              y
                                                                                                                                                                                                                              ..
                                                                                                                                                                                                                               j                                                                                                         <.
                                                                                                                                                                                                                                                                                                                                         ,:
                                              $   .
                                                                                          .,                o
                                                                                                            z                                                                                       ,.r,               z
                                                                                                                                                                                                                       so o m
                                                                                                                                                                                                                        o -   <                                                                                                              .
                                                                                                                                                                                                                                                                                                                                         .
                                                                          '                                 >
                                                                                                            c                                                                                                          ZI
                                                                                                                                                                                                                       m  M                                                                                                              2
                                                                                                                                                                                                              .                     @ @
                                                                                                             C
                                                                                                             m                                                                       rf                       .''.
                                                                                                             m
                                 .                                                                            josendi       .. Maq*shipm ents.erved
                                                                                                                    ngPriorît#2Q:                  .
                 ..                   ,       '           .,                                de @ U.S.PDWBIservlce;OCtobW 8)AI1rigbtsOS
                                                                              jce and isprovi  t
                                                                                               j sol
                                                                                                   el# fOruSP     .
'-
,
     '
     ,                            .    .                        u
                                                      erty oftbe .s.PostalSPI
                                                                            '
                                                                            V   tforresale.Ep:4g                                                                                                                                                                                                                                         :.;
é                              This9ackaglngistbe9rfO;
                                                    ederallaW'Tbis9Zckaginoi9nl
         '                H SZSPZOVbzZ   vi
                                          olati
                                              on Df                                                    .
